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 1 LAW OFFICES OF CHRIS COSCA
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   Sacramento, CA 95814
 3 (916) 440-1010

 4 Attorney for Defendant
   TOSH BABU
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 7                              IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00204-TLN
11                                  Plaintiff,           STIPULATION AND ORDER TO
                                                         CONTINUE SENTENCING
12   v.
13   TOSH BABU,
14                                  Defendant.
15

16                                               STIPULATION
17           Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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             1.       The Court previously set this matter for Judgment and Sentencing on August 31,
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     2017.
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22           2.       By this stipulation, the parties now move to continue Judgment and Sentencing to

23 September 7, 2017. The reason for this request is to accommodate a calendar conflict.

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 1
     IT IS SO STIPULATED.
 2

 3
     DATED:       August 25, 2017      PHILLIP A. TALBERT
 4                                     United States Attorney

 5                                     /s/ Matthew G. Morris___________________
                                       MATTHEW G. MORRIS
 6                                     Assistant United States Attorney

 7
     DATED:       August 25, 2017      /s/ Chris Cosca _______________________
 8                                     CHRIS COSCA
                                       Counsel for Defendant Tosh Babu
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12                                            ORDER

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     IT IS SO FOUND AND ORDERED this 28th day of August, 2017.
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                                                            Troy L. Nunley
18                                                          United States District Judge

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     USA v. BABU, 2:15-cr-00204, Stipulation and Order to Continue J&S
